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                                  3                                    UNITED STATES DISTRICT COURT
                                  4                                  NORTHERN DISTRICT OF CALIFORNIA
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                                  7    CALIFORNIA COALITION FOR WOMEN                   Case No.: 4:23-CV-4155-YGR
                                       PRISONERS, ET AL.,
                                  8                                                     ORDER DENYING REQUESTS TO ENFORCE
                                                                                        CONSENT DECREE;
                                  9                Plaintiffs,
                                                                                        ORDER RE: FILING FURTHER REQUESTS ON
                                  10          v.                                        THE DOCKET

                                  11   UNITED STATES OF AMERICA, ET AL.,
                                                                                        Re: Dkt. Nos. 479 & 480.
Northern District of California




                                  12
 United States District Court




                                                    Defendants.
                                  13

                                  14          The Court is in receipt of two requests to enforce the approved consent decree, including
                                  15   one request for a Temporary Restraining Order. The requests are DENIED, though the Court has
                                  16   forwarded both to the Special Master.
                                  17          Parties should note that the consent decree approved by the Court included provisions for
                                  18   communication with the Special Master. Further requests to enforce the consent decree shall be
                                  19   relayed to the Special Master, in accordance with the terms of the approved consent decree.
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                                  21          This terminates Dkt. Nos. 479 & 480.
                                  22   IT IS SO ORDERED.
                                  23   Date: May 5, 2025                              _______________________________________
                                                                                              YVONNE GONZALEZ ROGERS
                                  24                                                     UNITED STATES DISTRICT COURT JUDGE
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